          Case 2:21-cr-00022-LGW-BWC Document 285 Filed 08/30/22 Page 1 of 2
               USCA11 Case: 22-12792 Date Filed: 08/24/2022 Page: 1 of 2


                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303


David J. Smith                                                                      For rules and forms visit
Clerk of Court                             August 26, 2022                          www.ca11.uscourts.gov


Amy Lee Copeland
Rouse & Copeland, LLC
602 MONTGOMERY ST
SAVANNAH, GA 31401

Appeal Number: 22-12792-F
Case Style: USA v. William Bryan
District Court Docket No: 2:21-cr-00022-LGW-BWC-3

Party To Be Represented: Travis McMichael

Dear Counsel:

You have been appointed to represent the above-named individual on appeal pursuant to the
Criminal Justice Act (CJA), 18 U.S.C. § 3006A. The compensation you will receive will be
based on the provisions of the CJA, Volume 7 of the Guide to Judiciary Policy, and the factors
in Addendum Four § (g)(1) of the Eleventh Circuit Rules.

Information, documentation, and a link to the CJA eVoucher application are available at
http://www.ca11.uscourts.gov/attorney-info/criminal-justice-act. For questions concerning
eVoucher please contact the Clerk's Office CJA Team at cja_evoucher@ca11.uscourts.gov or
404-335-6167. For all other questions, please call the "Reply To" number shown below.

Your claim for compensation under the CJA should be submitted no later than 60 days after
issuance of the mandate or the filing of a petition for a writ of certiorari, whichever is later.
When you submit your voucher, include a description of the services you provided and upload
in eVoucher each brief, petition for rehearing, and certiorari petition you filed on behalf of your
client.

Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
11th Cir. R. 26.1-1. In addition:

      •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
      •    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
           this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
       Case 2:21-cr-00022-LGW-BWC Document 285 Filed 08/30/22 Page 2 of 2
            USCA11 Case: 22-12792 Date Filed: 08/24/2022 Page: 2 of 2



   •    Only parties represented by counsel must complete the web-based CIP. Counsel must
        complete the web-based CIP, through the Web-Based CIP link on the Court's website,
        on the same day the CIP is first filed.

The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

Transcript Information Form
Pursuant to FRAP 10(b), the appellant must, within 14 days, file a Transcript Information Form,
which is available on the Court's website. See FRAP 10(b)(1); 11th Cir. R. 10-1. See 11th Cir.
R. 12-1 and 31-1.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Dionne S. Young, F
Phone #: (404) 335-6224
